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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

                                                    :
Danielle Baker,
                                                    :
                                                    : Civil Action No.: ______
                         Plaintiff,
                                                    :
        v.
                                                    :
                                                    :
Harris & Harris, Ltd.,                                COMPLAINT
                                                    :
                                                    :
                         Defendant.
                                                    :
                                                    :
                                                    :

        For this Complaint, Plaintiff, Danielle Baker, by undersigned counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of, inter alia, the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        4.      Plaintiff, Danielle Baker (“Plaintiff”), is an adult individual residing in

Indianapolis, Indiana, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        5.      Defendant, Harris & Harris, Ltd. (“Harris”), is an Illinois business entity with an

address of 111 W. Jackson Boulevard, Suite 400, Chicago, Illinois 60604, operating as a

collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).
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                     ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt

       6.      Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       7.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

       8.      The Debt was purchased, assigned or transferred to Harris for collection, or Harris

was employed by the Creditor to collect the Debt.

       9.      Harris attempted to collect the Debt and, as such, engaged in “communications”

as defined in 15 U.S.C. § 1692a(2).

B. Harris Engages in Harassment and Abusive Tactics

       10.     In or around February 2021, Harris began contacting the Plaintiff’s place of

employment in an attempt to collect the Debt.

       11.     Plaintiff informed Harris that personal calls to her at work were prohibited by her

employer and requested that Harris cease placing calls to her place of employment.

       12.     In or around March 2021, Plaintiff reiterated her request for Harris to cease

placing calls to her place of employment.

       13.     Knowing that personal calls to Plaintiff’s place of employment were prohibited by

Plaintiff’s employer, Harris continued to place calls to Plaintiff’s work telephone number in an

attempt to collect the Debt.

       14.     Harris’ actions caused Plaintiff a great deal of frustration, stress and anxiety.

C. Plaintiff Suffered Actual Damages

       15.     Plaintiff has suffered and continues to suffer actual damages as a result of the
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Defendant’s unlawful conduct.

       16.     As a direct consequence of Defendant’s acts, practices and conduct, Plaintiff

suffered and continues to suffer from anger, anxiety, emotional distress, fear and frustration.

                                   COUNT I
                  VIOLATIONS OF THE FDCPA - 15 U.S.C. § 1692, et seq.

       17.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       18.     Defendant’s conduct violated 15 U.S.C. § 1692c(a)(1) in that Defendant contacted

Plaintiff at a place and during a time known to be inconvenient for Plaintiff.

       19.     Defendant’s conduct violated 15 U.S.C. § 1692c(a)(3) in that Defendant contacted

Plaintiff at Plaintiff’s place of employment, knowing that Plaintiff’s employer prohibited such

communications.

       20.     Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged in

behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in

connection with the collection of a debt

       21.     Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that Defendant caused a

phone to ring repeatedly and engaged Plaintiff in telephone conversations, with the intent to

annoy and harass.

       22.     Defendant’s conduct violated 15 U.S.C. § 1692e in that Defendant used false,

deceptive, or misleading representation or means in connection with the collection of a debt.

       23.     Defendant’s conduct violated 15 U.S.C. § 1692e(10) in that Defendant employed

false and deceptive means to collect a debt.

       24.     Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used unfair and

unconscionable means to collect a debt.

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       25.    The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the FDCPA, including every one of the above-cited provisions.

       26.    Plaintiff is entitled to damages as a result of Defendant’s violations.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be awarded in Plaintiff’s

favor and against Defendant as follows:

              1. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

              2. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

              3. The costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

       § 1692k(a)(3);

              4. Punitive damages; and

              5. Such other and further relief as may be just and proper.

                    TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: October 10, 2021



                                             Respectfully submitted,

                                             By /s/ Sergei Lemberg

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